In the United States District Court
For the Middle District of North Carolina

 

Brian David Hill,
Petitioner/Defendant
Criminal Action No. 1:13-CR-435-1
V.
Civil Action No. 1:17-CV-1036
United States of America,

Respondent/Plaintiff

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REQUEST THAT THE U.S. DISTRICT COURT VACATE FRAUDULENT
BEGOTTEN JUDGMENT, VACATE THE FRAUDS UPON THE COURT
AGAINST BRIAN DAVID HILL

Criminal Defendant and § 2255 Motion Petitioner Brian David Hill is respectfully

requesting that the earlier Motion under Document #199, be granted.

The MOTION was entitled "Motion for Sanctions and to Vacate Judgment in
Plaintiff's/Respondent's Favor" "Motion and Brief/Memorandum of Law in
Support of Requesting the Honorable Court in this case Vacate Fraudulent
Begotten Judgment or Judgments" filed by BRIAN DAVID HILL. Response to
Motion due by 10/25/2019. (Attachments: # 1 Supplement 1, # 2 Supplement 2, # 3
Exhibit 1, # 4 Exhibit 2, # 5 Envelope - Front and Back) (Civil Case number:
17CV 1036) (Garland, Leah) (Entered: 10/04/2019).

The U.S. Attorney Office had until October 25, 2019 to respond to that motion, to
oppose that motion, and did not object to it and did not file any response thereto.

“Response to Motion due by 10/25/2019.”

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Therefore to prevent any further injury, miscarriage of justice, and frauds against
the party “Brian David Hill” in this criminal case, Brian requests that the Motion

for Sanctions under Document #199 be granted As Soon As Possible.

The Supervised Release Violation under Document #122 is a nullity and should be
considered a void judgment on the basis of fraud, ineffective counsel, and due
process violations. Brian is considering filing a Writ of Mandamus or Writ of
Prohibition to order that the fraudulent begotten judgment or judgments be vacated

and nullified.
CONSTITUTION INVOLVED
Fifth and Fourteenth Amendments

Guarantee all citizens the right to equal protection
under the laws and due process in all courts from
being deprived of life, liberty and property, without

due process under the laws of the land.

CASE LAW INVOLVED

Ex Parte Seidel, 39 S.W.3d 221 (2001), Court of Criminal Appeals of Texas, En

Banc.

“A void judgment is a nullity from the beginning, and is attended by none of the
consequences of a valid judgment. It is entitled to no respect whatsoever because it
does not affect, impair, or create legal rights.” Ex parte Spaulding, 687 S.W.2d at
745 (Teague, J., concurring). Since the trial court's dismissal "with prejudice" was
void, it may be attacked either by direct appeal or collateral attack. See Ex parte
Shields, 550 S.W.2d at 675.

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The law is well-settled that a void order or judgement is void even before reversal",
VALLEY v. NORTHERN FIRE & MARINE INS. CO., 254 U.S. 348,41 S. Ct.
116 (1920) "Courts are constituted by authority and they cannot go beyond that
power delegated to them. If they act beyond that authority, and certainly in
contravention of it, their judgements and orders are regarded as nullities; they are
not voidable, but simply void, and this even prior to reversal." WILLIAMSON v.
BERRY, 8 HOW. 945, 540 12 L. Ed. 1170, 1189 (1850). It has also been held
that" It is not necessary to take any steps to have a void judgment reversed,
vacated, or set aside, It may be impeached in any action direct or, collateral.’
Holder v. Scott, 396 S.W.2d 906, (Tex.Civ.App., Texarkana, 1965, writ ref.,
n.r.e.). A court’ cannot confer jurisdiction where none existed and cannot make a
void proceeding valid. It is clear and well established law that a void order can be
challenged in any court", OLD WAYNE MUT. L. ASSOC. v. McDONOUGH,
204 U. S. 8,27 S. Ct. 236 (1907). Judgment is a void judgment if court that

rendered judgment lacked jurisdiction of the subject matter, or of the parties, or

 

acted in a manner inconsistent with due process, Fed. Rules Civ. Proc., Rule
60(b)(4),28 U.S.C.A., U.S.C.A. Const.

FRCP RULE 60(b) FRCP’Rule 60(b) provides that the court may relieve a party
from a final judgment and sets forth the following six categories of reasons for
which such relief may be granted: (1) mistake, inadvertence, surprise, or excusable
neglect; (2) newly-discovered evidence which by due diligence could not have
been discovered in time to move for a new trial under Rule 59; (3) fraud,
misrepresentation, or misconduct by an adverse party; (4) circumstances under
which a judgment is void; (5) circumstances under which a judgment has been
satisfied, released, or discharged, or a prior judgment upon which it is based has

been reversed or otherwise vacated, or it is no longer equitable that the judgment

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should have prospective application; or (6) any other reason justifying relief from
the operation of the judgment. F.R.C.P. Rule 60(b)(1)-(b)(6). To be entitled to
relief, the moving party must establish facts within one of the reasons enumerated
in Rule 60(b).

This cannot be ignored its fact recorded! Judgment is a void judgment if court that
rendered judgment lacked jurisdiction of the subject matter, or of the parties, or
acted in a manner inconsistent with due process, Fed. Rules Civ. Proc., Rule
60(b)(4), 28 U.S.C.A., U.S.C.A. Const. Amend. 5 —Klugh v. U.S., 620 F.Siipp.
892 (D.S.C. 1985).

When appeal is taken from a void judgment, the appellate court must declare the
judgment void, because the appellate court may not address the merits, it must set
aside the trial court's judgment and dismiss the appeal. A void judgment may be
attacked at any time by a person whose rights are affected. See El-Kareh v. Texas
Alcoholic Beverage Comm'n, 874 S.W.2d 192, 194 (Tex. App.—Houston [14th
Dist.] 1994, no writ); see also Evans v. C. Woods, Inc., No. 12-99-00153-CV,
1999 WL 787399, at *1 (Tex. App.—tTyler Aug. 30, 1999, no pet. h.).

A void judgment which includes judgment entered by a court which lacks
jurisdiction over the parties or the subject matter, or lacks inherent power to enter
the particular judgment, or an order procured by fraud, can be attacked at any time,
in any court, either directly or collaterally, provided that the party is properly
before the court. See Long v. Shorebank Development Corp., 182 F.3d 548 (C.A. 7
Til. 1999),

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Void judgment is one where court lacked personal or subject matter jurisdiction or
entry of order violated due process, U.S.C.A. Const. Amend. 5 — Triad Energy
Corp. v. McNell 110 F.R.D. 382 (S.D.N.Y. 1986).

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A void judgment is one which, from its inception, was, was a complete nullity and
without legal effect, Rubin v. Johns, 109 F.R.D. 174 (D. Virgin Islands 1985).

A void judgment is one which, from its inception, was a complete nullity and
without legal effect, Lubben v. Selective Service System Local Bd. No. 27, 453
F.2d 645, 14 A.L.R. Fed. 298 (C.A. 1 Mass. 1972).

A void judgment is one which, from its inception, is and forever continues to be
absolutely null, without legal efficacy, ineffectual to bind the parties or to support a
right, of no legal force and effect whatever, and incapable of enforcement in any
manner or to any degree — Loyd v. Director, Dept. of Public Safety, 480 So. 2d 577
(Ala. Civ. App. 1985).

A judgment shown by evidence to be invalid for want of jurisdiction is a void
judgment or at all events has all attributes of a void judgment, City of Los Angeles
v. Morgan, 234 P.2d 319 (Cal.App. 2 Dist. 1951). Void judgment which is subject
to collateral attack, is simulated judgment devoid of any potency because of
jurisdictional defects, Ward v. Terriere, 386 P.2d 352 (Colo. 1963).

A void judgment is a simulated judgment devoid of any potency because of
jurisdictional defects only, in the court rendering it and defect of jurisdiction may
relate to a party or parties, the subject matter, the cause of action, the question to be
determined, or relief to be granted, Davidson Chevrolet, Inc. vy. City and County of
Denver, 330 P.2d 1116, certiorari denied 79 S.Ct. 609, 359 U.S. 926, 3 L.Ed. 2d
629 (Colo. 1958).

People v. Sales, 551 N.E.2d 1359 (ILApp. 2 Dist. 1990). Res

judicata consequences will not be applied to a void judgment which is one which,
from its inception, is a complete nullity and without legal effect, Allcock v.
Allcock 437 N.E. 2d 392 (Ill. App. 3 Dist. 1982).

Void judgment is one which, from its inception is complete nullity and without
legal effect In re Marriage of Parks, 630 N.E. 2d 509 (Ill. App. 5 Dist. 1994).
Void judgment is one entered by court that lacks the inherent power to make or
enter the particular order involved, and it may be attacked at any time, either

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directly or collaterally; such a judgment would be a nullity People v. Rolland 581
N.E.2d 907, (Ill. App. 4 Dist. 1991).

Void judgment under federal law is one.in which rendering court lacked subject
matter jurisdiction over dispute or jurisdiction over parties, or acted in manner
inconsistent with due process of law or otherwise acted unconstitutionally in
entering judgment, U.S.C.A. Const. Amed. 5, Hays v. Louisiana Dock Co., 452
n.e.2D 1383 (Ill. App. 5 Dist. 1983).

A void judgment has no effect whatsoever and is incapable of confirmation or
ratification, Lucas v. Estate of Stavos, 609 N. E. 2d 1114, rehearing denied, and
transfer denied (Ind. App. 1 dist. 1993).

Void judgment is one that from its inception is a complete nullity and without legal
effect Stidham V. Whelchel, 698 NE.2d 1152 (Ind. 1998).

Relief form void judgment is available when trial court lacked either personal or
subject matter jurisdiction, Dusenberry v. Dusenberry, 625 N.E. 2d 458 (Ind.App.
1 Dist. 1993).

Void judgment is one rendered by court which lacked personal or subject matter
jurisdiction or acted in manner inconsistent with due process, U.S.C.A. Const.
Amends. 5, 14 Matter of Marriage of Hampshire, 869 P.2d 58 ( Kan. 1997).

Judgment is void if court that rendered it lacked personal or subject matter
jurisdiction; void judgment is nullity and may be vacated at any time, Matter of
Marriage of Welliver, 869 P.2d 653 (Kan. 1994).

A void judgment is one rendered by a court which lacked personal or subject
matter jurisdiction or acted in a manner inconsistent with due process Jn re Estate
of Wells, 983 P.2d 279, (Kan. App. 1999).

Void judgment is one rendered in absence of jurisdiction over subject matter or
parties 310 N.W. 2d 502, (Minn. 1981). A void judgment is one rendered in
absence of jurisdiction over subject matter or parties, Lange v. Johnson, 204
N.W.2d 205 (Minn. 1973).

A void judgment is one which has merely semblance, without some essential

element, as when court purporting to render is has no jurisdiction, Mills v.
Richardson, 81 S.E. 2d 409, (N.C. 1954).

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A void judgment is one which has a mere semblance, but is lacking in some of the
essential elements which would authorize the court to proceed to
judgment, Henderson v. Henderson, 59 S.E. 2d 227, (N.C. 1950).

Void judgment is one entered by court without jurisdiction to enter such
judgment, State v. Blankenship 675 N.E. 2d 1303, (Ohio App. 9 Dist. 1996).

Void judgment, such as may be vacated at any time is one whose invalidity
appears on face of judgment roll, Graff'v. Kelly, 814 P.2d 489 (Okl. 1991). A
void judgment is one that is void on face of judgment roll, Capital Federal Savings
Bank v, Bewley, 795 P.2d 1051 (Okl. 1990).

Where condition of bail bond was that defendant would appear at present term of
court, judgment forfeiting bond for defendant’s bail to appear at subsequent term
was a void judgment within rule that laches does not run against a void
judgment Com. V. Miller, 150 A.2d 585 (Pa. Super. 1959).

A void judgment is one which shows upon face of record a want of jurisdiction in
court assuming to render the judgment, Underwood v. Brown, 244 S.W. 2d 168
(Tenn. 1951).

A Void judgment is one which shows upon face of record want of jurisdiction in
court assuming to render judgment, and want of jurisdiction may be either of
person, subject matter generally, particular question to be decided or relief
assumed to be given, State ex rel. Dawson v. Bomar, 354 S.W. 2d 763, certiorari
denied, (Tenn. 1962).

A void judgment is one in which the judgment is facially invalid because the court
lacked jurisdiction or authority to render the judgment, State v. Richie, 20 8.W.3d
624 (Tenn. 2000).

A void judgment is one which shows on face of record the want of jurisdiction in
court assuming to render judgment, which want of jurisdiction may be either of the
person, or of the subject matter generally, or of the particular question attempted to
decided or relief assumed to be given, Richardson v. Mitchell, 237 S.W. 2d 577,
(Tenn.Ct. App. 1950).

A void judgment is one that has been procured by extrinsic or collateral fraud or
entered by a court that did not have jurisdiction over the subject matter or the
parties.” Rook v. Rook, 233 Va. 92, 95, 353 S.E.2d 756, 758 (1987)

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A void judgment or order is one that is entered by a court lacking jurisdiction over
the parties or the subject matter, or lacking the inherent power to enter the
particular order or judgment, or where the order was procured by fraud, Jn re
Adoption of E.L., 733 N.E.2d 846, (Il. App. 1 Dist. 2000). Void judgments are
those rendered by court which lacked jurisdiction, either of subject matter or
parties, Cockerham v. Zikratch, 619 P.2d 739 (Ariz. 1980).

Void judgments generally fall into two classifications, that is, judgments where

there is want of jurisdiction of person or subject matter, and judgments procured !
through fraud, and such judgments may be attacked directly or collaterally, Irving

v. Rodriquez, 169 N.E.2d 145, (Ill. app. 2 Dist. 1960). Invalidity need to appear on

face of judgment alone that judgment or order may be said to be intrinsically void

or void on its face, if lack of jurisdiction appears from the record, Crockett Oil Co.

v. Effie, 374 S.W.2d 154 ( Mo. App. 1964).

 

Void order which is one entered by court which lacks jurisdiction over parties or
subject matter, or lacks inherent power to enter judgment, or order procured by
fraud, can be attacked at any time, in any court, either directly or collaterally,
provided that party is properly before court, People ex rel. Brzica v. Village of
Lake Barrington, 644 N.E.2d 66 (Ill. App. 2 Dist. 1994).

While voidable orders are readily appealable and must be attacked directly, void
order may be circumvented by collateral attack or remedied by

mandamus, Sanchez v. Hester, 911 8.W.2d 173, (Tex. App. — Corpus Christi
1995). Arizona courts give great weight to federal courts’ interpretations of Federal
Rule of Civil Procedure governing motion for relief from judgment in interpreting
identical text of Arizona Rule of Civil Procedure, Estate of Page v.

Litzenburg, 852 P.2d 128, review denied (Ariz. App. Div. 1, 1998).

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sy,

When rule providing for relief from void judgments is applicable, relief is not

discretionary matter, but is mandatory, Orner v. Shalala, 30 F.3d 1307,
(Colo. 1994).

Judgments entered where court lacked either subject matter or personal
jurisdiction, or that were otherwise entered in violation of due process of Jaw, must
be set aside, Jaffe and Asher v. Van Brunt, S.D.N.Y.1994, 158 F.R.D. 278.

 

A_ “void” judgment as we all know, grounds no rights, forms no defense to actions
taken thereunder, and is vulnerable to any manner of collateral attack (thus here, by

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No statute of limitations or repose runs on its holdings, the matters thought to
be settled thereby are not res judicata, and years later, when the memories

may have grown dim and rights long been regarded as vested, any disgruntled

litigant may reopen the old wound and once more probe its depths. And it is

then as though trial and adjudication had never been. 10/13/58 FRITTS v.
KRUGH. SUPREME COURT OF MICHIGAN, 92 N.W.2d 604, 354 Mich. 97.

In Stoesel v. American Home, 362 Sel. 350, and 199 N.E. 798 (1935), the court
ruled and determined that, “Under Illinois Law and Federal Law, when any officer
of the Court has committed “fraud on the Court”, the order and judgment of that
court are void and of no legal force and effect.” In Sparks v. Duval County

Ranch, 604 F.2d 976 (1979), the court ruled and determined that, “No immunity
exists for co-conspirators of judge. There is no derivative immunity for extra-
judicial actions of fraud, deceit and collusion.” In Edwards v. Wiley, 374 P.2d
284, the court ruled and determined that, “Judicial officers are not liable for
erroneous exercise of judicial powers vested in them, but they are not immune
from liability when they act wholly in excess of jurisdiction.” See also, Vickery v.
Dunnivan, 279 P.2d 853, (1955). In Beall v. Reidy, 457 P.2d 376, the court ruled
and determined, “Except by consent of all parties a judge is disqualified to sit in
trial of a case if he comes within any of the grounds of disqualification named in
the Constitution. In Taylor v. O’Grady, 888 F.2d 1189, 7" Cir. (1989), the circuit

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ruled, “Further, the judge has a legal duty to disqualify, even if there is no motion
asking for his disqualification.” Also, when a lower court has no jurisdiction to
enter judgment, the question of jurisdiction may be raised for the first time on
appeal. See DeBaca v. Wilcox, 68 P.922. The right to a tribunal free from bias
and prejudice is based on the Due Process Clause. Should a judge issue any order
after he has been disqualified by law, and if the party has been denied of any of
his/her property, then the judge has engaged in the crime of interference with
interstate commerce; the judge has acted in his/her personal capacity and not in the
judge’s judicial capacity. See U.S. v. Scinto, 521 F.2d 842 at page 845, 7" circuit,
1996. Party can attack subject matter jurisdiction at anytime in the proceeding,
even raising jurisdiction for the first time on appeal, State v. Begay, 734 P.2d
278. “A prejudiced, biased judge who tries a case deprives a party adversely
affected of due process.” See Nelson y. Cox, 66 N.M. 397.

“Where a court failed to observe safeguards, it amounts to denial of due process
of law, court is deprived of juris.” Merritt v. Hunter, C.A. Kansas 170 F2d 739.

Federal Rules of Civil Procedure, Rule 60. Relief from Judgment or Order:

This rule does not limit the power of a court to entertain an independent action to
relieve a party from a judgment, order, or proceeding, or to grant relief to a
defendant not actually personally notified as provided in Title 28, U.S.C., § 1655,
or to set aside a judgment for fraud upon the court. Writs of coram nobis, coram
vobis, audita querela, and bills of review and bills in the nature of a bill of review,
are abolished, and the procedure for obtaining any relief from a judgment shall be
by motion as prescribed in these rules or by an independent action. Where
necessary parties in government have actual notice of suit, suffer no prejudice from
technical defect in service, and there is justifiable excuse for failure to serve

properly, courts should not construe rule 4 of these rules governing service so

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rigidly, or construe this rule governing relief from orders so narrowly, as to prevent
relief from dismissal, especially where dismissal signals demise of all or some of
plaintiff's claims. Jordan v. U.S., C.A.D.C. 1982, 694 F.2d 833, 224 U.S. App.
D.C. 267. A liberal construction of this rule is particularly appropriate where
equitable considerations are involved. Johnson Waste Materials v. Marshall, C.A.5
(Tex) 1980, 611 F.2d 593. This rule authorizing a court on motion to relieve a
party or a legal representative from a final judgment or order for any reason
justifying relief is to be liberally applied in a proper case, that is, in a case
involving extraordinary circumstances or extreme hardship, U.S.S. v. Cirami,
C.A.2 (N.Y) 1977, 563 F.2d 26, on remand 92 F.R.D. 483. See, also, Marquette
Corp. v. Priester, D.C.S.C.1964, 234 F.Supp. 799;U.S. v. $3,216.59 in U.S.
Currency, D.C.S.C.1967, 41 F.R.D. 433. Subd. (b)(4) to (6) of this rule that court
may relieve party from final judgment if it is void, if it is no longer equitable that
judgment should have prospective application or for any other reason justifying
relief from operation of judgment, is to be liberally construed to carry out purpose
of avoiding enforcement of erroneous judgment. Blanchard v. St. Paul Fire &
Marine Ins. Co., C.A.5 (Fla.) 1965, 341 F.2d 351, certiorari denied 86 S.Ct. 66,
382 U.S. 829, 15 L.Ed.2d 73. This rule should be liberally construed for purpose
of doing substantial justice. In re Hankins, N.D.Miss.1973, 367 F.Supp. 1370. See,
also, Fackeiman v. Bell, C.A.Ga.1977, 564 F.2d 734; Radack v. Norwegian
America Line Agency, Inc., C.A.N.Y.1963, 318 F.2d 538; Triplett v. Azordegan,
D.C.lowa 1977, 478 F.Supp. 872; Tann v. Service Distributors, Inc., D.C.Pa.1972,
56 F.R.D. 593, affirmed 481 F.2d 1399. This rule establishing requirement for
granting relief from a final judgment or order is to be given a liberal construction.
U.S. v. One 1966 Chevrolet Pickup Truck, E.D.Tex.1972, 56 F.R.D. 459. 7, —
Void judgment clause: Although this rule providing for relief from judgment is not
substitute for appeal and finality of judgments ought not be disturbed except on

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very narrow grounds, liberal construction should be given this rule to the end that
judgments which are void or are vehicles of injustice not be left standing. Brennan
v. Midwestern United Life Ins. Co., C.A.7 (Ind.) 1971, 450 F.2d 999, certiorari
denied 92 S.Ct. 957, 405 U.S. 921, 30 L.Ed.2d 792.

There is no time limit when a judgment is void:

Precision Eng. V. LPG, C.A. 1* (1992) 953 F.2d 21 at page 22, Meadows v.
Dominican Republic CA 9™ (1987) 817 F.2d at page 521, In re: Center Wholesale,
Inc. C.A. 10" (1985) 759 F.2d 1440 at page 1448, Misco Leasing v. Vaughn CA
10" (1971) 450 F.2d 257, Taft v. Donellen C.A. T" (1969) 407 F.2d 807,
and Bookout v. Beck CA 9" (1965) 354 F.2d 823. See also, Hawkeye Security Ins.
V. Porter, D.C. Ind. 1982, 95 F.R.D, 417, at page 419, Saggers v. Yellow
Freight D.C. Ga. (1975) 68 F.R.D. 686 at page 690, JS. v. Melichar D.C. Wis.
(1972) 56 F.R.D. 49, Ruddies v. Auburn Spark Plug. 261 F. Supp. 648, Garcia
v. Garcia, Utah 1986 712 P.2d 288 at page 290, and Calasa v. Greenwell, (1981)
633 P.2d 555 at page 585, 2 Hawaii395. “Judgment was vacated as void after 30
years in entry,” Crosby. V. Bradstreet, CA 2" (1963) 312 F.2d 483 cert. denied 83
S.Ct, 1300, 373 US 911, 10. L. Ed, 2.d 412. “Delay of 22 years did not bar
relief,” U.S. y. Williams, D.C. Ark. (1952) 109 F.Supp. 456.

GOVERNMENT DID NOT FILE ANY OBJECTIONS TO AND NO
RESPONSES TO MOTION FOR SANCTIONS UNDER DOCUMENT #199
AND SECOND MOTION FOR SANCTIONS UNDER DOCUMENT #206

Government/Respondent, Counsel for the United States of America did not object
to any of the Doc. #199 and #206 claims raised by Petitioner/Defendant Brian
David Hill in regards to being a victim of a “fraud upon the court” and that the
Court should vacate the fraudulent begotten judgment or judgments based on the

issues raised.

Government had until October 25, 2019, to respond to the allegations in Document
#199 but they did not respond to the allegations against Anand Prakash

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Ramswamy, counsel representing the United States of America, as well as others.
That motion was well grounded in law as well as case law authorities as all Courts
have an inherit power to attack any frauds upon the court either on appeal or

collaterally at any time and isn’t subject to a statute of limitations.

Government had until November 5, 2019, to respond to the allegations in
Document #206 but they did not respond to the allegations that the United States
Probation Office has entered a fraudulent begotten “Petition for Warrant or
Summons for Offender Under Supervision” (See Document #157) under oath or
affirmation which is perjury on its face and subject to impeachment. That motion
was well grounded in law as well as case law authorities as all Courts have an
inherit power to attack any frauds upon the court either on appeal or collaterally at
any time and isn’t subject to a statute of limitations. The original Petition under
Doc, #157 is a nullity from its inception and should not have been carried as a
valid charge. The finding of violation under Doc. #200 should have been

considered as a void judgment on its face and had no jurisdiction.

The Government and U.S. Probation Office has waived any right to challenge the
allegations of fraud against them under Documents #206 and #199 by refusing to
answer the allegations in Documents #206 and #199. It shows that they did not
hold their position in adversity against Brian David Hill. They didn’t respond when
given three weeks of a deadline as if they flaunt that they do not care about Brian
David Hill’s actual innocence and neither do they care about violating N.C. State
Bar Rule 3.8. Unless they attack any of the facts alleged in both motions for
sanctions, they are kept as facts and were not challenged. If those allegations were
challenged timely, then there would be a hearing to address the allegations. Since
no response was made to both Motions’ fraud upon the court allegations, then they

are prima facie evidence of frauds unless proven otherwise.

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So this request is asking the U.S. District Court to promptly, As Soon As Possible,
relieve the party Brian David Hill from any further injury and cruel and unusual
punishment against him by the Respondent for the judgment under Document #122
being created by frauds such as perjury, conclusory claims and misunderstandings
that cannot be established as facts, and the fact that the U.S. Attorney Office in
Greensboro, North Carolina refuses to correct any frauds brought to their attention

by pleadings that were filed by the adverse party Brian David Hill.

Brian also requests that since the U.S. Attorney Office, the counsel for the United
States of America has not objected to the Document #206 motion for sanctions in
regards to the Document #157 fraud upon the court issues, that if the original
petition was based upon fraud, then the entire Supervised Release Violation was
voided and was a nullity from the beginning of its filing. It never should have been
signed by a judge and neither should it have a force and effect. Brian warns that he
may have to file a Writ of Mandamus or Writ of Prohibition asking for prohibiting
enforcement of any fraudulent begotten judgments as they are a nullity and

shouldn’t have any consequences of a valid judgment.

The frauds need to be addressed, and such frauds on its face are grounds for

vacating and nullifying the effected judgments at any time.

This is not the Third Motion for Sanctions Brian plans on filing as his last resort in
his 2255 case, then Brian is considering that if the U.S. District Court in the
Middle District of North Carolina does not reverse any of its fraudulent begotten
judgments, then he shal! ask the Court of Appeals or the U.S. Supreme Court for
Writ of Mandamus or Writ of Prohibition, and ask the higher courts for remedy of
relieving Brian David Hill of any or all fraudulent begotten judgments as
documented and was filed properly before the Court.

As long as Brian David Hill files the proper case law authorities and his requests

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are well grounded in law, he has every right to file a motion or request asking for
any relief as well-grounded by statute, the Court’s inherit power, and well-
grounded by the United States Constitution.

Brian is entitled with every legal right and common law right, as a United States
citizen, to ask any Court to reverse any or all of its judgments when any proof
surfaces that such judgments were grounded in fraud. If the adverse party does not
object to the fraud allegations, then they have consented to or not obj ected to
losing any judgments favorable to them that such allegations directly address. Not
filing any responses when the other party asks for sanctions, is the same as both
parties being ordered to appear before a hearing over the issues of fraud and the
party to which the allegations were directed against do not show up at the hearing
to respond. They had plenty of opportunity to respond and they did not respond to
the allegations against them in both Documents #199 and #206.

Brian David Hill is entitled to relief of voidable judgments, As Soon As Possible.

WHEREFORE, Petitioner and Criminal Defendant Brian David Hill
requests that the Court enter a vacatur of judgment under Document #122 and that
it be ruled as a VOID judgment and can no longer be used against Brian David Hill

(Petitioner/Defendant) as brought out in unopposed Document #199 motion;

WHEREFORE, Petitioner and Criminal Defendant Brian David Hill
requests that the Court enter a vacatur or nullification or voiding of Document
#157 as a fraudulent begotten petition for warrant or summons for offender under
supervision and is a nullity from its inception as brought out in unopposed

Document #206 motion;

WHEREFORE, Petitioner and Criminal Defendant Brian David Hill
requests that the Court enter a vacatur of Document #200 as the fraudulently filed

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petition under Document #157 that opened up the Supervised Release Violation
‘case was a nullity from its inception and creating a judgment from a fraudulent
petition on the basis of perjury and false information does not make it less

voidable;

WHEREFORE, Petitioner and Criminal Defendant Brian David Hill
requests any relief that the Court deems necessary and proper for the interests of

justice that so require;

Definition: Definition of INCEPTION (Black's Law Dictionary)
INCEPTION. Commencement; opening; initiation. The beginning of the operation
of a contract or will, or of a note, mortgage, lien, etc.; the beginning of a cause or

suit in court.

Respectfully filed with the Court, this the 7th day of November, 2019.

_-Respeey submitted,

tf

  

 

Signed

Brian D. Hill (Pro Se)

310 Forest Street, Apartment I
Martinsville, Virginia 24112
Phone #: (276) 790-3505

U'SWG.O.

 

Former U.S.W.G.O. Alternative News reporter

I stand with QANON/Donald-Trump — Drain the Swamp

I ask Qanon and Donald John Trump for Assistance (S.O.S.)
Make America Great Again

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Petitioner also requests with the Court that a copy of this pleading be served upon
the Government as stated in 28 U.S.C. § 1915(d), that “The officers of the court
shall issue and serve all process, and preform all duties in such cases. Witnesses

shall attend as in other cases, and the same remedies shall be available as are
provided for by law in other cases”. Petitioner requests that copies be served with
the U.S. Attorney office of Greensboro, NC via CM/ECF Notice of Electronic
Filing ("NEF") email, by facsimile if the Government consents, or upon U.S. Mail.
Thank You!

CERTIFICATE OF SERVICE

Petitioner/Defendant hereby certifies that on November 7, 2019, service was made
by mailing the original of the foregoing:

“REQUEST THAT THE U.S. DISTRICT COURT VACATE FRAUDULENT
BEGOTTEN JUDGMENT, VACATE THE FRAUDS UPON THE COURT
AGAINST BRIAN DAVID HILL”

by deposit in the United States Post Office, in an envelope (Express Mail), Postage
prepaid, on November 7, 2019 addressed to the Clerk of the Court in the U.S.
District Court, for the Middle District of North Carolina, 324 West Market Street,
Greensboro, NC 27401.

Then pursuant to 28 U.S.C. §1915(d), Petitioner requests that the Clerk of the
Court move to electronically file the foregoing using the CMIECF system which
will send notification of such filing to the following parties to be served in this
action:

 

Anand Prakash Ramaswamy Angela Hewlett Miller

U.S. Attorney Office U.S. Attorney Office

Civil Case # 1:17 -cv-1036 Civil Case # 1: 17 -cv-1036

101 South Edgeworth Street, 4th 101 South Edgeworth Street, 4th
Floor, Greensboro, NC 27401 Floor, Greensboro, NC 27401
Anand.Ramaswamy(@usdoj.gov angela.miller@usdoj.gov

 

JOHN M. ALSUP

U.S. Attorney Office

101 South Edgeworth Street, 4th
Floor, Greensboro, NC 27401
john.alsup(@usdoj.gov

 

 

 

 

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This is pursuant to Petitioner's "In forma Pauperis" ("IFP") status, 28 U.S.C.
§1915(d) that "The officers of the court shall issue and serve all process, and
perform all duties in such cases ... "the Clerk shall serve process via CM/ECF to

serve process with all parties.

 

Date of signing:

November 7 I0f 9

 

 

Respectfully submitted,

D.| Signed

Brian D. Hill (Pro Se)

310 Forest Street, Apartment 1
Martinsville, Virginia 24112
Phone #: (276) 790-3505

USWG.O.

I stand with QANON/Donald-Trump — Drain
the Swamp

I ask Qanon and Donaid John Trump for
Assistance (S.0.8.)

Make America Great Again

     

 

 

I ask Department of Defense (“DOD”) military Constitutional oath keepers,
alliance, Qanon for help in protecting me from corruption and criminal behavior of

Government.

Certified Mail tracking no: EL 334901015 US

Friend’s justice site: JusticeForUSWGO.wordpress.com

(anon SOS. Hep Me!

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